          Case 1:23-cv-01940-RA Document 19 Filed 06/13/23 Page 1 of 3



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                                                                                   June 8, 2023

VIA ECF
Honorable Ronnie Abrams
United States District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square, Courtroom No. 1506                            LETTER REQUESTING STAY
New York, New York 10007                                       OF DISCOVERY PENDING
                                                               MOTION TO DISMISS

RE:    Clean Energy Experts v. Nick Benhammou and Daniel Yomtobian
       Case No. 1:23-cv-01940-RA


Dear Honorable Judge Abrams:

       This office has been retained as counsel to Defendant Nick Benhamou in the above
referenced matter and respectfully submits this letter-motion to extend the time to respond to the
complaint.

        Mr. Benhamou intends to bring a motion to dismiss Plaintiffs’ complaint pursuant to
Fed.R.Civ.P. §12(b)(6) and for a discretionary stay of discovery under Fed.R.Civ.P. §26(c). The
undersigned also intends to issue a safe harbor letter to counsel for Plaintiffs under FRCP Rule11
in the coming days.

Contemplated Motion to Dismiss

        Plaintiff’s causes of action stem from the alleged breach by Benhamou of Solar
Program’s agreement with Plaintiff (“Solar Program Agreement.”) That agreement contained an
arbitration clause whereby the parties agreed to submit their disputes to JAMS. Thus, to the
extent the complaint alleges (in form or substance) claims against Solar Program, those claims
must be arbitrated.

        Plaintiff also asserts three causes of action against Benhamou: (1) Conversion; (2) Fraud;
and (3) Intentional Misrepresentation. The facts allegedly supporting these causes of action
constitute a breach of contract claim. Benhamou is not a signatory to the Solar Program
Agreement, and thus cannot be personally liable for the breach.
           Case 1:23-cv-01940-RA Document 19 Filed 06/13/23 Page 2 of 3




      Even if Benhamou was a signatory to the Solar Program’s Agreement, it is a well-settled
New York law that conversion may not lie for simple nonperformance under an alleged
agreement. Kubin v. Miller, 801 F. Supp. 1101, 1118 (S.D.N.Y. 1992) citing Matzan v. Eastman
Kodak Company, 134 A.D.2d 863 (4th Dept, 1987).

       Plaintiff’s fraud and misrepresentation claims are likewise duplicative of the unasserted
breach of contract claims (See Khodeir v. Sayyed, 323 F.R.D. 193 (S.D.N.Y. 2017); Soroof Trading
Dev. Co. v. GE Microgen Inc., 10 Civ. 01391 (LGS) (S.D.N.Y. Oct. 30, 2013).

      Furthermore, there is no allegation sufficient to pierce the corporate veil and hold
Benhamou personally liable. Benhamou is thus an improper party.

       Plaintiffs’ frivolous attempt to assign personal liability where none exists will be
addressed in the undersigned’s forthcoming letter pursuant to Rule 11.

       Contemplated Motion for Stay of Discovery

        On a motion to stay discovery courts in this district consider “(1) the strength of the
motion; (2) the risk that a delay will prejudice the party seeking discovery; and (3) the breadth
of, and the burden of responding to, the discovery requests.” Steadfast Ins. Co. v. Portsmouth JV,
20-CV-8615 (RA), at *1 (S.D.N.Y. Feb. 16, 2021)

        There is no dispute that Benhamou did not sign any contracts with the Plaintiff. (Copies
of contract are attached as exhibits to Plaintiff’s complaint). Plaintiff will not be prejudiced by a
stay. Benhamou, however, will likely have to respond to voluminous requests, given the
allegations of fraud in the complaint.

       Rule 11 Demand Letter

       The undersigned has advised Plaintiff’s counsel of Defendant Benhamou’s intention to
present a demand to withdraw the complaint pursuant to Federal Rule of Procedure 11.

       Extension Requested

        The original due date to answer the complaint was April 5, 2023 (21 days from summons
issued March 21, 2023. The parties agreed to an extension of time for Defendant to respond
until July 31, 2023. The parties notified the Court by joint letter dated May 25, 2023 (Dkt. No.
15), that Defendant Benhamou will seek a motion to dismiss and a stay of discovery pending the
motion to dismiss.

      Defendant Benhamou has not previously requested an adjournment or extension.
Opposing counsel consents to the filing of a Motion to Dismiss by July 31, 2023.

       The extension would affect the proposed scheduled dates for discovery. Attached is a
Proposed Revised Scheduling Order, accounting for the extension.

2|Page
         Case 1:23-cv-01940-RA Document 19 Filed 06/13/23 Page 3 of 3




    Thank you for your consideration of this request.

                                               Respectfully,

                                               _______________________
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3|Page
